UNITED STATES DISTRICT COURT FOR
THE DISTRICT OF NEW HAMPSHIRE

COALITION FOR OPEN DEMOCRACY,
et al.,

Plaintiffs,
v. Case No. 1:24-cv-00312-SE-TSM

DAVID M. SCANLAN, in his official capacity
as New Hampshire Secretary of State, et al.,

Defendants.

AFFIDAVIT OF DAVID M. SCANLAN
I, David M. Scanlan, being duly sworn on oath or affirmation, depose and state as
follows:
Introduction
1. I am at least 18 years of age and I am competent to testify on the matters set forth
herein. I have personal knowledge of the following facts, and if called as a witness, I can and

will competently testify thereto.

2. I serve as the Secretary of State, a defendant in this lawsuit in my official
capacity.
3. I have served as Secretary of State since January 10, 2022. I previously served as

Deputy Secretary of State from June 8, 2002, to January 10, 2022.

4. As the Secretary of State, my official responsibilities include, but are not limited
to, serving as the Chief Election Officer for New Hampshire. RSA 652:23. Those duties include
leading the management of the Statewide Voter Registration System required by RSA 654:45

and the federal Help America Vote Act.
5. I submit this affidavit in support of Defendants’ Amended Objection to Plaintiffs’
Motion to Compel the Statewide Voter Database & Related Documents (ECF No. 60)

(“Defendants’ Objection”).

Statewide Voter Registration System

6. New Hampshire’s Statewide Voter Registration (“SVRS”) is a database and
communications system accessed by local election officials throughout the state. Local election
officials, supervisors of the checklist and clerks, enter and update the data in the SVRS. Each can
access the data on the voters in their own town or city. They have access to data on voters
registered in other towns or cities only when managing the transfer of a voter’s registration from
one town/city to another town/city. RSA 654:45, III (2)(c).

7. New Hampshire’s SVRS is required by federal law and by state law. Federal law
mandates that state officials guarantee the integrity of the system and the confidentiality of the
data maintained in the database. State law, RSA 654:45, provides that “the secretary of state shall
“provide adequate technological security measures to deter unauthorized access to the records
contained in the voter database.” RSA 654:45, V(b).

8. Defendants’ Amended Objection accurately states the SVRS’ purpose, usage, and
function. It also accurately states the nature of the data.

9. Election infrastructure, Statewide Voter Registration Systems in particular, are
under threat from domestic and foreign actors who seek to intrude into the system for criminal
purposes including altering voter data and disrupting the functionality of the system at critical
stages of an election. Real and substantial cyber threats to state’s voter registration databases
exist. Substantial federal and state resources are used each year to secure the SVRS from cyber

intrusion. Federal authorities have warned that substantial resources from other countries are
actively seeking to hack into statewide voter registration systems across the United States.
Cybersecurity experts caution that the structure of the relational database, including table and
field names, must be kept secret as this information would significantly aid criminals seeking to
intrude into the system. I direct my staff to take all practical steps to keep the data in the SVRS
secure and to avoid public disclosure of the structure and field labels.

10... My staff and I have, over the years, been contacted by many voters who are
concerned with the privacy of their voter records. Disclosure of voter’s data affects voter’s views
on voting. State law makes the checklist data, the name, domicile address, mailing address, town
or city, and party affiliation, if any, of registered voters, public information subject to New
Hampshire’s Right-to-Know law, RSA 91-A. An exception makes this data on confidential
voters non-public. A confidential voter is a voter requesting that status who is protected by a
domestic violence protective order or who is a participant in the Attorney General’s Office
address confidentiality program. The marked checklist used at an election is a public record
available at each clerk’s office. RSA 659:102. In the past when there has been public discourse
on the disclosure of just the public checklist information, my office has received many calls and
emails from voters who sought to have their name removed from the checklist. I make all
practical efforts to keep the SVRS cybersecure and to protect the voter’s data in part to ensure
that disclosure does not deter voting.

11. | New Hampshire law appropriately places significant importance on keeping
voter’s data private and the SVRS as secure as possible from cyber intrusion. RSA 654:45, VI,
makes it a crime, a misdemeanor, to “discloses information from the voter database in any
manner not authorized by this section...” The New Hampshire Supreme Court upholding

application of RSA 654:45 in civil discovery has recognized that the restrictions on disclosure of
the SVRS may have “the purpose of maintaining the confidentiality of the Database, which the
legislature deemed important to preserve.” Petition of N.H. Secretary of State & New Hampshire
Attorney General, 171 N.H. 728 (2019). This law establishes my duty to protect the SVRS and
all non-public data in the SVRS from any disclosure which would violate voter’s expectations of
privacy and any disclosure which would make it easier for cyber intruders, domestic or foreign
nation state, to gain access to the SVRS.

12. The SVRS is a complex relational database developed for New Hampshire by a
private vendor. The contract for the database provides New Hampshire with a “non-exclusive,
non-transferrable, worldwide, irrevocable, royalty free, perpetual license...” June 21, 2022,
Contract. A similar provision applies to the legacy system, ElectioNet, previously provided by a
different vendor. The prior vendor’s role may be limited in that data from ElectioNet was
transferred into SVRS, but may require back end queries to extract. The vendors retain a
property interest in the software and can sell their statewide voter registration systems to other
states. The contract prevents transferring the entire voter database to a third party, in part as they
would have no license to operate the software. Were the state ordered to disclose the “database”
it would be necessary to afford the vendors the opportunity to defend their property interests. ]

expect that significant safeguards would be essential to protecting the cybersecurity of the

systems and the vendor’s property interests while the “database” is in the hands of the plaintiffs.

[SIGNATURE ON NEXT PAGE]
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I hereby declare under the penalty of perjury that the foregoing testimony supporting
Defendants’ Amended Objection to Plaintiffs’ Motion to Compel the Statewide Voter Database
& Related Documents (ECF No. 60) in the case of Coalition for Open Democracy, et al. v.

Scanlan, et al., Docket No. 1:24-cv-312-SE-TSM, is true and accurate to the best of my

knowledge and belief.

Dated: Boal ax, Qoas (yee.
David M. Scanlan

Secretary of State
N.H. Department of State

THE STATE OF NEW HAMPSHIRE

Countyor Merri Ak

Personally appeared before me, Davied M. Scanlan, and acknowledged the foregoing
to be true and accurate to the best of his knowledge and belief.

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Notary Public /¥ustice of the Peace,

Dated: 4

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